Case 2:22-cv-09094-GW-MAR Document 461 Filed 04/27/23 Page 1 of 7 Page ID #:7796


     1    Rena Andoh (admitted pro hac vice)              Douglas E. Lumish (SBN 183863)
           randoh@sheppardmullin.com.com                   doug.lumish@lw.com
     2    SHEPPARD, MULLIN, RICHTER                       Gabriel S. Gross (SBN 254672)
          & HAMPTON LLP                                    gabe.gross@lw.com
     3    30 Rockefeller Plaza                            Arman Zahoory (SBN 306421)
          New York, NY 10112                               arman.zahoory@lw.com
     4    Telephone: (212) 653-8700                       Ryan T. Banks (SBN 318171)
                                                           ryan.banks@lw.com
     5    Lai L. Yip (SBN 258029)                         LATHAM & WATKINS LLP
           lyip@sheppardmullin.com                        140 Scott Drive
     6                                                    Menlo Park, CA 94025
          Four Embarcadero Center, 17th Floor             Telephone: (650) 328-4600
     7    San Francisco, CA 94111                         Facsimile: (650) 463-2600
          Telephone: (415) 434-9100
     8                                                    Attorneys for Defendant and
          Travis J. Anderson (SBN 265540)                 Counterclaimant SKYRYSE, INC.
     9     tanderson@sheppardmullin.com
          12275 El Camino Real, Suite 100                 Grant B. Gelberg (SBN 229454)
    10    San Diego, CA 92130                              grant.Gelberg@halpernmay.com
          Telephone: (858) 720-8900                       Kevin H. Scott (SBN 274605)
    11                                                     kevin.Scott@halpernmay.com
          Kazim A. Naqvi (SBN 300438)                     Alyssa L. Titche (SBN 313296)
    12     knaqvi@sheppardmullin.com                       alyssa.Titche@halpernmay.com
          1901 Avenue of the Stars, Suite 1600            Catherine Thompson (SBN 313391)
    13                                                    catherine.Thompson@halpernmay.com
          Los Angeles, CA 90067                           HALPERN MAY YBARRA &
    14    Telephone: (310) 228-3700                       GELBERG LLP
                                                          550 South Hope Street, Suite 2330
    15    Attorneys for Plaintiff and                     Los Angeles, California 90071
          Counterdefendant MOOG INC.                      Telephone: (213) 402-1900
    16
          Rachel L. Fiset (SBN 240828)                    Attorneys for Defendant MISOOK
    17     rachel.Fiset@zfzlaw.com                        KIM
          Scott D. Tenley (SBN 298911)
    18     scott.Tenley@zfzlaw.com
          ZWEIBACK FISET &
    19    ZALDUENDO LLP
          315 W. 9th Street, Suite 1200
    20    Los Angeles, California 90015
          Telephone: (213) 266-5170
    21
          Attorneys for Defendant ROBERT
    22    ALIN PILKINGTON
    23

    24

    25

    26

    27

    28


         SMRH:4873-3639-0239.2                      -1-
                                          JOINT STIP RE DEADLINE FOR MOOG’S MFL TO FILE AC & DEFS’ RESPONSES
Case 2:22-cv-09094-GW-MAR Document 461 Filed 04/27/23 Page 2 of 7 Page ID #:7797


     1                            UNITED STATES DISTRICT COURT
     2
                                CENTRAL DISTRICT OF CALIFORNIA
     3

     4    MOOG INC.,                                 Case No. 2:22-cv-09094-GW-MAR

     5                    Plaintiff,                 Hon. George H. Wu
     6            v.                                 JOINT STIPULATION REGARDING
     7                                               DEADLINE FOR MOOG’S MOTION
          SKYRYSE, INC., ROBERT                      FOR LEAVE TO FILE AMENDED
     8    ALIN PILKINGTON, MISOOK                    COMPLAINT, AND DEFENDANTS’
                                                     RESPONSES THERETO
          KIM, and DOES NOS. 1-50,
     9
                          Defendants.                Complaint Filed:     March 7, 2022
    10
                                                     Counterclaims Filed: January 30, 2023
    11

    12

    13

    14

    15

    16

    17

    18

    19

    20
    21

    22

    23

    24

    25

    26

    27

    28


         SMRH:4873-3639-0239                       -2-
                                         JOINT STIP RE DEADLINE FOR MOOG’S MFL TO FILE AC & DEFS’ RESPONSES
Case 2:22-cv-09094-GW-MAR Document 461 Filed 04/27/23 Page 3 of 7 Page ID #:7798


     1
                 IT     IS     HEREBY   STIPULATED          by     and     between       Plaintiff     and
     2
         Counterdefendant Moog Inc. (“Moog”), Defendant and Counterclaimant Skyryse,
     3
         Inc. (“Skyryse”), Defendant Robert Alin Pilkington (“Pilkington”), and Defendant
     4
         Misook Kim (“Kim”) (Kim and Pilkington are collectively referred to as the
     5
         “Individual Defendants”) (Moog, Skyryse, and the Individual Defendants are
     6
         collectively referred to as the “Parties”) through their respective attorneys of record,
     7
         as follows:
     8
                 WHEREAS, on March 7, 2022, Moog commenced this action with the filing
     9
         of its Complaint (Dkt. 1);
    10
                 WHEREAS, on May 31, 2022, the Individual Defendants filed a Motion to
    11
         Dismiss Moog’s Complaint under Rule 12(b)(6), seeking dismissal of Moog’s
    12
         causes of action for Tortious Interference with Prospective Economic Advantage,
    13
         Unjust Enrichment, and Civil Conspiracy;
    14
                 WHEREAS, on January 30, 2023, Skyryse served its Answer to Moog’s
    15
         Complaint, along with Affirmative Defenses and Counterclaims (Dkt. 348);
    16
                 WHEREAS, on February 21, 2023, Moog filed a Motion to Dismiss all nine
    17
         of Skyryse’s Counterclaims under Rule 12(b)(2), (3) and (6) (Dkt. 360);
    18
                 WHEREAS, on April 13, 2023, the hearing took place on the Individual
    19
         Defendants’ Motion to Dismiss portions of Moog’s Complaint and Moog’s Motion
    20
         to Dismiss Skyryse’s Counterclaims in their entirety;
    21
                 WHEREAS, on April 14, 2023, the Court issued its final ruling regarding the
    22
         Individual Defendants’ Motion to Dismiss portions of Moog’s Complaint and
    23
         Moog’s Motion to Dismiss Skyryse’s Counterclaims in their entirety (Dkt. 439) (the
    24
         “MTD Order”). Therein, the Court granted-in-part and denied-in-part the Individual
    25
         Defendants’ Motion to Dismiss Moog’s Complaint, dismissing Moog’s causes of
    26
         action against the Individual Defendants for Tortious Interference with Prospective
    27
         Economic Advantage and Unjust Enrichment, with leave to amend. The Court
    28


         SMRH:4873-3639-0239                        -3-
                                          JOINT STIP RE DEADLINE FOR MOOG’S MFL TO FILE AC & DEFS’ RESPONSES
Case 2:22-cv-09094-GW-MAR Document 461 Filed 04/27/23 Page 4 of 7 Page ID #:7799


     1
         granted-in-part and denied-in-part Moog’s Motion to Dismiss Skyryse’s
     2
         Counterclaims, dismissing all or portions of Skyryse’s counterclaims for Breach of
     3
         Contract, Breach of the Implied Covenant of Good Faith and Fair Dealing, Breach
     4
         of Implied Contract, Fraud/Misrepresentation, Tortious Interference with
     5
         Contractual Relationship, Intentional Interference with Existing Business
     6
         Relationships, Intentional Interference with Prospective Business Advantage, and
     7
         Unfair Business Practices in Violation of Cal. Bus. & Prof. Code § 17200, with leave
     8
         to amend;
     9
                 WHEREAS, the Rule 26 Scheduling Conference was scheduled for April 20,
    10
         2023 at 8:30 a.m., and the Parties filed their Joint Rule 26(f) Report on April 17,
    11
         2023 (Dkt. 441);
    12
                 WHEREAS, on April 19, 2023, the Court issued a Scheduling Order and took
    13
         the Rule 26 Scheduling Conference off calendar (Dkt. 446). The Scheduling Order
    14
         provides, in relevant part: “Given the Court’s ruling on Defendants’ motion to
    15
         dismiss, the plaintiff is given until May 10, 2023 to file an amended pleading and
    16
         Defendants shall respond by May 31, 2023. Thereafter, any further amendments
    17
         must be made by motion under Rule 16”;
    18
                 WHEREAS, Moog planned to advise the Court during the Rule 26 Scheduling
    19
         Conference that it intends to amend its Complaint beyond the limited scope of the
    20
         Court’s MTD Order, including to potentially add new claims and/or parties to the
    21
         case, and to conform to the facts and evidenced obtained since the filing of Moog’s
    22
         initial Complaint more than one year ago;
    23
                 WHEREAS, to promote judicial economy for the Court and all Parties, Moog
    24
         desires to file a single Amended Complaint, rather than filing an Amended
    25
         Complaint solely in response to the limited leave granted in the Court’s MTD Order,
    26
         and then simultaneously or subsequently filing a Motion for Leave to File an
    27
         Amended Complaint afterwards;
    28


         SMRH:4873-3639-0239                       -4-
                                         JOINT STIP RE DEADLINE FOR MOOG’S MFL TO FILE AC & DEFS’ RESPONSES
Case 2:22-cv-09094-GW-MAR Document 461 Filed 04/27/23 Page 5 of 7 Page ID #:7800


     1
                 WHEREAS, because it intends to amend its Complaint beyond the limited
     2
         scope of the Court’s MTD Order, Moog desires an additional 10 days from the
     3
         deadline in the Court’s Scheduling Order to file its Motion for Leave to File an
     4
         Amended Complaint;
     5
                 WHEREAS, in connection with any forthcoming Motion for Leave to File an
     6
         Amended Complaint, Moog would meet and confer with Defendants as required
     7
         under the Local Rules to determine if any resolution can be reached;
     8
                 WHEREAS, the Parties agree that Defendants would have 21 days to respond
     9
         to any Amended Complaint filed by Moog, including any amended counterclaims
    10
         responsive to the Court’s MTD Order, with the 21 day period commencing upon the
    11
         later of: 1) the Court’s ruling on Moog’s forthcoming Motion for Leave to File an
    12
         Amended Complaint; or 2) the entry of any Amended Complaint filed by Moog.1
    13
                 NOW THEREFORE, subject to the Court’s approval, the Parties stipulate
    14
         and agree as follows:
    15
                 1.       In lieu of an Amended Complaint filed by May 10, 2023 solely in
    16
                          response to the limited leave granted in the Court’s MTD Order,
    17
                          Moog may file on or before May 20, 2023 a Motion for Leave to File
    18
                          an Amended Complaint by which Moog can seek to add additional
    19
                          claims or parties to this lawsuit, unless the Parties stipulate (subject to
    20
                          the Court’s approval) on or prior to that date that Moog may file the
    21
                          Amended Complaint, in which case Moog would file an Amended
    22
                          Complaint instead of a Motion for Leave to Amend;
    23
                 2.       Defendants may oppose Moog’s forthcoming Motion for Leave to
    24
                          File an Amended Complaint in the ordinary course and under the
    25
                          procedures set forth under the Local Rules;
    26
                 3.       Defendants’ deadline to respond to any Amended Complaint filed by
    27

    28   1
          This stipulation is made without prejudice to Defendants’ ability to seek leave for
         additional time to respond to Moog’s Amended Complaint.

         SMRH:4873-3639-0239                            -5-
                                              JOINT STIP RE DEADLINE FOR MOOG’S MFL TO FILE AC & DEFS’ RESPONSES
Case 2:22-cv-09094-GW-MAR Document 461 Filed 04/27/23 Page 6 of 7 Page ID #:7801


     1
                          Moog (including Skyryse’s deadline to file any Amended
     2
                          Counterclaims), is 21 days from the later of: a) the Court’s ruling on
     3
                          Moog’s forthcoming Motion for Leave to File an Amended
     4
                          Complaint; or b) the entry of any Amended Complaint filed by Moog.
     5

     6
         IT IS SO STIPULATED.
     7

     8
         Dated: April 27, 2023
     9

    10                                          SHEPPARD, MULLIN, RICHTER &
                                                HAMPTON LLP
    11

    12                                          By: /s/ Kazim A. Naqvi
                                                    Kazim A. Naqvi
    13                                              Counsel for Plaintiff and Counterdefendant
                                                    Moog Inc.
    14
                                                LATHAM & WATKINS LLP
    15

    16                                          By: /s/ Gabriel S. Gross
                                                    Gabriel S. Gross
    17
                                                    Counsel for Defendant and Counterclaimant
    18                                              Skyryse, Inc.
    19
                                                ZWEIBACK FISET & ZALDUENDO LLP
    20
                                                By: /s/ Scott D. Tenley
    21
                                                    Scott D. Tenley
    22                                              Counsel for Defendant Robert Alin
                                                    Pilkington
    23

    24                                          HALPERN MAY YBARRA & GELBERG
                                                LLP
    25
                                                By: /s/ Grant B. Gelberg
    26                                              Grant B. Gelberg
    27
                                                    Counsel for Defendant Misook Kim

    28


         SMRH:4873-3639-0239                           -6-
                                             JOINT STIP RE DEADLINE FOR MOOG’S MFL TO FILE AC & DEFS’ RESPONSES
Case 2:22-cv-09094-GW-MAR Document 461 Filed 04/27/23 Page 7 of 7 Page ID #:7802


     1                                     ATTESTATION
     2
                 Pursuant to Civil Local Rule 5-4.3.4, I, Kazim A. Naqvi, attest that
     3

     4   concurrence in the filing of this document has been obtained by all its signatories.

     5

     6
         Dated: April 27, 2023                    /s/ Kazim A. Naqvi
     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20
    21

    22

    23

    24

    25

    26

    27

    28


         SMRH:4873-3639-0239                        -7-
                                          JOINT STIP RE DEADLINE FOR MOOG’S MFL TO FILE AC & DEFS’ RESPONSES
